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Gash Wd LZ das Lede

UNITED STATES DISTRICT COURT

 

 

FOR THE CENTRAL DISTRICT OF CALIFORNIA
June 2007 Grand Jury

CR 07- 07-01075

INDICIMENT

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
Vv. )- [21 U.S.C. §§ 841 (a) (1),
) (b) (1) (A) (iii): Distribution
KENNETH BERNARD RILEY, )
aka "Kenny Boy," )
)
)
)

of Cocaine Base]

Defendant.

 

The Grand Jury charges:

[21 U.S.C. §§ 841(a) (1), (b) (1) (A) (411) ]

On or about June 20, 2005, in Los Angeles County, within the
Central District of California, and elsewhere, defendant KENNETH
BERNARD RILEY, also known as “Kenny Boy,” knowingly and
intentionally distributed approximately 143.7 grams of a mixture
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or substance containing cocaine base, in the form of crack
cocaine, a Schedule II controlled substance.

A TRUE BILL

/</

FOR PEHSON

GEORGE S. CARDONA
United States Attorney

THO P. ‘BRIEN
Assistant United States Attorney
Chief, Criminal Division

BONNIE L. HOBBS
Assistant United States Attorney
Violent and Organized Crime Section

 
